        2:22-cv-02513-RMG    Date Filed 08/01/22   Entry Number 1       Page 1 of 45




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION

IN RE: AQUEOUS FILM-FORMING                  FOAMS          MDL No.: 2873
PRODUCTS LIABILITY LITIGATION
                                                            Master Docket No: 2:18-mn-2873

                                                            JUDGE RICHARD GERGEL
                                                        )
WILLIAM WHELCHEL,                                       )   Civil Case No.:   2:22-cv-02513-RMG
                                                        )
          Plaintiff,                                    )   DIRECT FILED COMPLAINT AND
-vs -                                                   )   JURY DEMAND PURSUANT TO
                                                        )   CASE MANAGEMENT ORDER NO. 3
3M COMPANY, f/k/a Minnesota Mining and                  )
Manufacturing Co.;                                      )
AGC CHEMICALS AMERICAS INC.;                            )
AGC, INC., f/k/a Asahi Glass Co., Ltd.;                 )
AMEREX CORPORATION;                                     )
ARCHROMA MANAGEMENT, LLC;
                                                        )
ARCHROMA U.S. INC.;
                                                        )
ARKEMA, INC., individually and as successor-in-
                                                        )
interest to Atofina S.A.;
BASF CORPORATION, individually and as successor-        )
in-interest to Ciba Inc.;                               )
BUCKEYE FIRE EQUIPMENT COMPANY;                         )
CARRIER GLOBAL CORPORATION, individually                )
and as successor-in-interest to Kidde-Fenwal, Inc.;     )
CHEMDESIGN PRODUCTS, INC.;                              )
CHEMGUARD, INC.;                                        )
CHEMICALS, INC.;                                        )
CHUBB FIRE, LTD;                                        )
CLARIANT CORPORATION, individually and as
                                                        )
successor-in-interest to Sandoz Chemical Corporation;
                                                        )
CORTEVA, INC., individually and as successor-in-
                                                        )
interest to DuPont Chemical Solutions Enterprise;
DEEPWATER CHEMICALS, INC.;                              )
DUPONT DE NEMOURS INC, f/k/a Dowdupont Inc.,            )
individually and as successor-in-interest to DuPont     )
Chemical Solutions Enterprise;                          )
DYNAX CORPORATION;                                      )
E.I. DU PONT DE NEMOURS AND COMPANY,                    )
     2:22-cv-02513-RMG      Date Filed 08/01/22   Entry Number 1    Page 2 of 45




individually and as successor-in-interest to DuPont   )
Chemical Solutions Enterprise;                        )
KIDDE-FENWAL, INC., individually and as successor-    )
in-interest to Kidde Fire Fighting, Inc.;             )
KIDDE PLC, INC.;                                      )
NATION FORD CHEMICAL COMPANY;                         )
NATIONAL FOAM, INC.;
                                                      )
THE CHEMOURS COMPANY, individually and as
                                                      )
successor-in-interest to DuPont Chemical Solutions
Enterprise;                                           )
THE CHEMOURS COMPANY FC, LLC, individually            )
and as successor-in-interest to DuPont Chemical       )
Solutions                                             )
Enterprise;                                           )
TYCO FIRE PRODUCTS LP, individually and as            )
successor-in-interest to The Ansul Company;           )
UNITED TECHNOLOGIES CORPORATION; and                  )
UTC       FIRE      &       SECURITY      AMERICAS    )
CORPORATION, f/k/a GE Interlogix, Inc.                )
                                                      )
         Defendants.


                  COMPLAINT AND DEMAND FOR JURY TRIAL

      Plaintiff, WILLIAM WHELCHEL (“Plaintiff”), by and through undersigned counsel,

brings this action against Defendants, 3M COMPANY (f/k/a Minnesota Mining and

Manufacturing, Co.), AGC CHEMICALS AMERICAS, INC., AGC, INC. (f/k/a Asahi Glass Co.,

Ltd.), AMEREX CORPORATION, ARCHROMA MANAGEMENT, LLC, ARCHROMA U.S.,

INC., ARKEMA, INC., individually and as successor-in-interest to Atofina, S.A., BASF

CORPORATION, individually and as successor-in-interest to Ciba, Inc., BUCKEYE FIRE

EQUIPMENT CO., CARRIER GLOBAL CORPORATION, individually and as successor-

interest to Kidde-Fenwal, Inc., CHEMDESIGN PRODUCTS, INC., CHEMGUARD, INC.,

CHEMICALS, INC., CHUBB FIRE, LTD., CLARIANT CORPORATION,                  CLARIANT

CORPORATION, individually and as successor-in-interest to Sandoz Chemical Corporation,


                                          2
      2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1        Page 3 of 45




CORTEVA, INC., individually and as successor-in-interest to DuPont Chemical Solutions

Enterprise, DEEPWATER CHEMICALS, INC., DUPONT DE NEMOURS, INC., individually

and as successor-in-interest to DuPont Chemical Solutions Enterprise, DYNAX CORPORATION,

E.I. DUPONT DE NEMOURS & COMPANY, individually and as successor-in-interest to DuPont

Chemical Solutions Enterprise, KIDDE-FENWAL, INC., individually and as successor-in-interest

to Kidde Fire Fighting, Inc., KIDDE PLC, INC., NATION FORD CHEMICAL COMPANY,

NATIONAL FOAM, INC., THE CHEMOURS COMPANY, individually and as successor-in-

interest to DuPont Chemical Solutions Enterprise, THE CHEMOURS COMPANY FC, LLC,

individually and as successor-in-interest to DuPont Chemical Solutions Enterprise, TYCO FIRE

PRODUCTS LP, as successor-in-interest to The Ansul Company, UNITED TECHNOLOGIES

CORPORATION, and UTC FIRE & SECURITY AMERICAS CORPORATION (f/k/a GE

Interlogix, Inc.) (collectively, “Defendants”), and alleges as follows:

                                        INTRODUCTION

       1.      Plaintiff brings this action for damages for personal injury resulting from exposure

to aqueous film-forming foams (“AFFF”) containing the toxic chemicals collectively known as

per and polyfluoroalkyl substances (“PFAS”). PFAS includes, but is not limited to,

perfluorooctanoic acid (“PFOA”) and perfluorooctane sulfonic acid (“PFOS”) and related

chemicals including those that degrade to PFOA and/or PFOS.

       2.      AFFF is a specialized substance designed to extinguish petroleum-based fires. It

has been used for decades by military and civilian firefighters to extinguish fires in training and in

response to Class B fires.

       3.      Defendants collectively designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold, and/or otherwise released



                                                  3
      2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1        Page 4 of 45




into the stream of commerce AFFF with knowledge that it contained highly toxic and bio persistent

PFASs, which would expose end users of the product to the risks associated with PFAS. Further,

defendants designed, marketed, developed, manufactured, distributed, released, trained users,

produced instructional materials, promoted, sold and/or otherwise handled and/or used underlying

chemicals and/or products added to AFFF which contained PFAS for use in firefighting.

       4.        PFAS binds to proteins in the blood of humans exposed to the material and remains

and persists over long periods of time. Due to their unique chemical structure, PFAS accumulates

in the blood and body of exposed individuals.

       5.        PFAS are highly toxic and carcinogenic chemicals. Defendants knew, or should

have known, that PFAS remain in the human body while presenting significant health risks to

humans.

       6.        Defendants’ PFAS-containing AFFF products were used by the Plaintiff in their

intended manner, without significant change in the products’ condition. Plaintiff was unaware of

the dangerous properties of the Defendants’ AFFF products and relied on the Defendants’

instructions as to the proper handling of the products. Plaintiff’s consumption, inhalation and/or

dermal absorption of PFAS from Defendant’s AFFF products caused Plaintiff to develop the

serious medical conditions and complications alleged herein.

       7.        Through this action, Plaintiff seeks to recover compensatory and punitive damages

arising out of the permanent and significant damages sustained as a direct result of exposure to

Defendants’ AFFF products at various locations during the course of Plaintiff’s training and

firefighting activities. Plaintiff further seeks injunctive, equitable, and declaratory relief arising

from the same.

                                 JURISIDICTION AND VENUE



                                                  4
      2:22-cv-02513-RMG           Date Filed 08/01/22       Entry Number 1        Page 5 of 45




        8.      The jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1332(a)(1), because

the Plaintiff and Defendants are citizens of different states and the amount in controversy exceeds

$75,000.00, excluding interest and costs.

        9.      Venue is proper in this District Court pursuant to this Court’s Case Management

Order (“CMO”) No. 3. Plaintiff states that but for the Order permitting direct filing in the United

States District Court for the District of South Carolina, Plaintiff would have filed this Complaint

in the United States District Court for the Southern District of Texas. Further, in accordance with

CMO 3, Plaintiff designates the United States District Court for the Southern District of Texas as

the “Home Venue” as this case may have originally been filed there. Venue is originally proper

in the United States District Court for the Southern District of Texas pursuant to 28 U.S.C. §1391

because it is the judicial district in which Plaintiff was a resident and/or citizen, a substantial part

of the events or omissions giving rise to the claims occurred, and Defendants conduct business

within this judicial district.

                                              PARTIES

        10.     William Whelchel (“Plaintiff”) is a resident and citizen of Baytown, Texas. Plaintiff

regularly used, and was thereby directly exposed to, AFFF in training and to extinguish fires during

his working career as a military and/or civilian firefighter at multiple sites located throughout

California, Virginia, and Florida. Plaintiff brings this action due to personal injuries sustained as a

result of exposure to the Defendants’ AFFF products containing PFAS

        11.     At all times material, Plaintiff was diagnosed with prostate cancer as a result of

exposure to Defendants’ AFFF products containing PFAS.

        12.     Defendants are designers, marketers, developers, manufacturers, distributors,

releasers, instructors, promotors and sellers of PFAS-containing AFFF products or underlying



                                                   5
      2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1       Page 6 of 45




PFAS containing chemicals used in AFFF production. The following Defendants, at all times

relevant to this lawsuit, manufactured, designed, marketed, distributed, released, instructed,

promoted and/or otherwise sold (directly or indirectly) PFAS-containing AFFF products to various

locations for use in fighting Class B fires such that each Defendant knew or should have known

said products would be delivered to areas for active use by Plaintiff during the course of training

and firefighting activities.

        13.     Defendant, 3M Company, f/k/a Minnesota Mining and Manufacturing Company,

(“3M”), is a Delaware corporation and does business throughout the United States. 3M has its

principal place of business at 3M Center, St. Paul, Minnesota 55133.

        14.     3M designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint. Further, defendant designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold and/or

otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

        15.     Defendant AGC Chemicals Americas, Inc. (“AGC Chemicals”) is a Delaware

corporation and does business throughout the United States. AGC has its principal place of

business at 55 E. Uwchlan Ave., Suite 201, Exton, Pennsylvania 19341.

        16.     AGC Chemicals designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used AFFF containing PFAS that are used in firefighting training and response exercises

which are the subject of this Complaint. Further, defendant designed, marketed, developed,



                                                6
      2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1        Page 7 of 45




manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

       17.     AGC, INC. f/k/a Asahi Glass Co., Ltd. (“AGC”) is a corporation organized under

the laws of Japan and does business throughout the United States. AGC has its principal place of

business at 1-5-1, Marunouchi, Chiyoda-ku, Tokyp 100-8405 Japan.

       18.     AGC designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint. Further, defendant designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold and/or

otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

       19.     Defendant Amerex Corporation (“Amerex”) is an Alabama corporation and does

business throughout the United States. Amerex has its principal place of business at 7595 Gadsden

Highway, Trussville, Alabama 35173.

       20.     Amerex designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled and/or

used AFFF containing PFAS that are used in firefighting training and response exercises which

are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.



                                                 7
      2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1        Page 8 of 45




       21.       Defendant Archroma Management, LLC is a foreign limited liability company

registered in Switzerland, with a principal place of business address of Neuhofstrasse 11, 4153

Reinach, Basel-Land, Switzerland. Upon information and belief, Archroma was formed in 2013

as part of the acquisition of Clariant Corporation’s Textile Chemicals, Paper Specialties and

Emulsions business by SK Capital Partners.

       22.       Archroma Management, LLC designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold and/or

otherwise handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       23.       Defendant Archroma U.S., Inc. (“Archroma”) is a Delaware corporation with its

principal place of business located at 5435 77 Center Drive, #10, Charlotte, North Carolina 28217.

Upon information and belief, Archroma is a subsidiary of Archroma Management, LLC, and

supplied fluorosurfactant products for use in AFFF. Archroma does business throughout the

United States.

       24.       Archroma designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled and/or

used AFFF containing PFAS that are used in firefighting training and response exercises which

are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold




                                                 8
      2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1        Page 9 of 45




and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

       25.      Defendant Arkema, Inc. (“Arkema”) is a Pennsylvania corporation and does

business throughout the United States. Arkema has its principal place of business at 900 1st

Avenue, King of Prussia, Pennsylvania 19406. Upon information and belief, assets of Arkema’s

fluorochemical business were purchased by Defendant Dupont in 2002.

       26.      Arkema designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled and/or

used AFFF containing PFAS that are used in firefighting training and response exercises which

are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

       27.      Defendant BASF Corporation (“BASF”) is a Delaware corporation and does

business throughout the United States. BASF has its principal place of business at 100 Park

Avenue, Florham Park, New Jersey 07932.

       28.      BASF is the successor-in-interest to Ciba Inc. (f/k/a Ciba Specialty Chemicals

Corporation).

       29.      Ciba designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint. Further, defendant designed, manufactured, marketed, distributed, and




                                                 9
     2:22-cv-02513-RMG             Date Filed 08/01/22      Entry Number 1       Page 10 of 45




sold fluorosurfactants containing PFOS, PFOA, and/or their chemical precursors for use in AFFF

products.

        30.        Defendant Buckeye Fire Equipment Company (“Buckeye”) is an Ohio corporation

and does business throughout the United States. Buckeye has its principal place of business at 110

Kings Road, Mountain, North Carolina 28086.

        31.        Buckeye designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

        32.        Defendant Carrier Global Corporation (“Carrier”) is a Delaware corporation and

does business throughout the United States. Carrier has its principal place of business at 13995

Pasteur Boulevard, Palm Beach Gardens, Florida 33418. Upon information and belief, Carrier was

formed in 2020 and is the parent company of Kidde-Fenwal, Inc., a manufacturer of AFFF.

        33.        Carrier designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, promoted, sold and/or otherwise handled and/or used

AFFF containing PFAS that are used in firefighting training and response exercises which are the

subject of this Complaint. Further, defendant designed, marketed, developed, manufactured,

distributed, released, trained users, produced instructional materials, promoted, sold and/or

otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.



                                                   10
     2:22-cv-02513-RMG            Date Filed 08/01/22     Entry Number 1      Page 11 of 45




        34.        Defendant ChemDesign Products, Inc. (“ChemDesign”) is a Texas corporation and

does business throughout the United States. ChemDesign has its principal place of business at 2

Stanton Street, Marinette, Wisconsin 54143.

        35.        ChemDesign designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled and/or

used AFFF containing PFAS that are used in firefighting training and response exercises which

are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

        36.        Defendant Chemguard, Inc. (“Chemguard”) is a Wisconsin corporation and does

business throughout the United States. Chemguard has its principal place of business at One

Stanton Street, Marinette, Wisconsin 54143.

        37.        Chemguard designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

        38.        Defendant Chemicals, Inc. (“Chemicals”) is a Texas corporation and does business

throughout the United States. Chemicals has its principal place of business at 12321 Hatcherville

Road, Baytown, Texas 77521.



                                                  11
     2:22-cv-02513-RMG          Date Filed 08/01/22      Entry Number 1       Page 12 of 45




       39.     Chemicals designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled and/or

used AFFF containing PFAS that are used in firefighting training and response exercises which

are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

       40.     Defendant Chubb Fire, Ltd. (“Chubb”) is a foreign private limited company, United

Kingdom registration number 134210, with offices in Littleton Road, Ashford, Middlesex, United

Kingdom TW15 1TZ. Upon information and belief, Chubb is or has been composed of different

subsidiaries and/or divisions, including, but not limited to, Chubb Fire & Security Ltd., Chubb

Security, PLC, Red Hawk Fire & Security, LLC and/or Chubb National Foam, Inc. Upon

information and belief, Chubb was part of UTC Fire & Security Americas Corporation, Inc.

       41.     Defendant Clariant Corporation (“Clariant”) is a New York corporation and does

business throughout the United States. Clariant has its principal place of business at 4000 Monroe

Road, Charlotte, North Carolina 28205.

       42.     Clariant designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled and/or

used AFFF containing PFAS that are used in firefighting training and response exercises which

are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.



                                                12
     2:22-cv-02513-RMG          Date Filed 08/01/22      Entry Number 1       Page 13 of 45




       43.     Defendant Corteva, Inc. (“Corteva”) is a Delaware Corporation that conducts

business throughout the United States. Its principal place of business is Chestnut Run Plaza 735,

Wilmington, Delaware 19805. Corteva is the successor-in-interest to Dupont Chemical Solutions

Enterprise.

       44.     Corteva designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       45.     Defendant Deepwater Chemicals, Inc. (“Deepwater”) is a Delaware corporation

and does business throughout the United States. Deepwater’s principal place of business is at

196122 E County Road 735, Woodward, Oklahoma 73801.

       46.     Deepwater designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold and/or otherwise handled and/or

used AFFF containing PFAS that are used in firefighting training and response exercises which

are the subject of this Complaint. Further, defendant designed, marketed, developed,

manufactured, distributed, released, trained users, produced instructional materials, promoted, sold

and/or otherwise handled and/or used underlying chemicals and/or products added to AFFF which

contained PFAS for use in firefighting.

       47.     Defendant Du Pont de Nemours Inc. (f/k/a DowDuPont, Inc.) (“DowDuPont”), is

a Delaware corporation and does business throughout the United States. DowDuPont, has its

principal place of business at 1007 Market Street, Wilmington, Delaware 19899 and 2211 H.H.



                                                13
     2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1       Page 14 of 45




Dow Way, Midland, Michigan 48674. DowDupont was created in 2015 to transfer Chemours and

DuPont liabilities for manufacturing and distributing flurosurfactants to AFFF manufacturers.

       48.     DowDuPont designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       49.     Defendant Dynax Corporation (“Dynax”) is a New York corporation that conducts

business throughout the United States. Its principal place of business is 103 Fairview Park Drive,

Elmsford, New York, 10523-1544.

       50.     Dynax designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       51.     Defendant E. I. du Pont de Nemours and Company (“DuPont”), is a Delaware

corporation and does business throughout the United States. DuPont has its principal place of

business at 1007 Market Street, Wilmington, Delaware 19898.

       52.     DuPont designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,



                                               14
     2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1      Page 15 of 45




developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       53.    Defendant Kidde-Fenwal, Inc. (“Kidde-Fenwal”) is a corporation organized under

the laws of the State of Delaware and does business throughout the United States. Kidde-Fenwal

has its principal place of business at One Financial Plaza, Hartford, Connecticut 06101. Kidde-

Fenwal is the successor-in-interest to Kidde Fire Fighting, Inc. (f/k/a Chubb National Foam, Inc.

f/k/a National Foam System, Inc.) (collectively, “Kidde/Kidde Fire”).

       54.    Kidde-Fenwal designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       55.    Defendant Kidde PLC, Inc. (“Kidde PLC.”) is a foreign corporation organized and

existing under the laws of the State of Delaware and does business throughout the United States.

Kidde PLC has its principal place of business at One Carrier Place, Farmington, Connecticut

06034. Upon information and belief, Kidde PLC was formerly known as Williams Holdings, Inc.

and/or Williams US, Inc.

       56.    Kidde PLC designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,



                                               15
     2:22-cv-02513-RMG            Date Filed 08/01/22      Entry Number 1      Page 16 of 45




promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

        57.        Defendant Nation Ford Chemical Company (“Nation Ford”) is a South Carolina

company and does business throughout the United States. Nation Ford has its principal place of

business at 2300 Banks Street, Fort Mill, South Carolina 29715.

        58.        Nation Ford designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

        59.        Defendant National Foam, Inc. (“National Foam”) is a Delaware corporation and

does business throughout the United States. National Foam has its principal place of business at

141 Junny Road, Angier, North Carolina, 27501.

        60.        National Foam designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold and/or otherwise handled and/or used AFFF

containing PFAS that are used in firefighting training and response exercises which are the subject

of this Complaint. Further, defendant designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, promoted, sold and/or otherwise handled

and/or used underlying chemicals and/or products added to AFFF which contained PFAS for use

in firefighting.

        61.        Defendant The Chemours Company (“Chemours”), is a Delaware corporation and

does business throughout the United States. Chemours has its principal place of business 1007



                                                  16
     2:22-cv-02513-RMG        Date Filed 08/01/22       Entry Number 1     Page 17 of 45




Market Street, Wilmington, Delaware 19898. Upon information and belief, Chemours was spun

off from DuPont in 2015 to assume PFAS related liabilities.

       62.    Chemours designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       63.    Defendant The Chemours Company FC, LLC (“Chemours FC”), is a Delaware

corporation and does business throughout the United States. Chemours has its principal place of

business at 1007 Market Street, Wilmington, Delaware 19899. Chemours FC is a subsidiary of

The Chemours Company.

       64.    Chemours FC designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       65.    Defendant Tyco Fire Products, LP, as successor-in-interest to The Ansul Company

(“Tyco”), is a Delaware limited partnership and does business throughout the United States. Tyco

has its principal place of business at 1400 Pennbrook Parkway, Lansdale, Pennsylvania 19466.

Tyco manufactured and currently manufactures the Ansul brand of products, including Ansul

brand AFFF containing PFAS.



                                              17
     2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1       Page 18 of 45




       66.     Tyco is the successor in interest to the corporation formerly known as The Ansul

Company (“Ansul”). At all times relevant, Tyco/Ansul designed, marketed, developed,

manufactured, distributed released, trained users, produced instructional materials, sold and/or

otherwise handled and/or used AFFF containing PFAS that are used in firefighting training and

response exercises which are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       67.     Defendant United Technologies Corporation (“United Technologies”) is a foreign

corporation organized and existing under the laws of the State of Delaware and does business

throughout the United States. United Technologies has its principal place of business at 8 Farm

Springs Road, Farmington, Connecticut 06032.

       68.     United Technologies designed, marketed, developed, manufactured, distributed,

released, trained users, produced instructional materials, sold, and/or otherwise handled and/or

used AFFF containing PFAS that are the subject of this Complaint. Further, defendant designed,

marketed, developed, manufactured, distributed, released, trained users, produced instructional

materials, promoted, sold and/or otherwise handled and/or used underlying chemicals and/or

products added to AFFF which contained PFAS for use in firefighting.

       69.     Defendant UTC Fire & Security Americas Corporation, Inc. (f/k/a GE Interlogix,

Inc.) (“UTC”) is a North Carolina corporation and does business throughout the United States.

UTC has principal place of business at 3211 Progress Drive, Lincolnton, North Carolina 28092.

Upon information and belief, Kidde-Fenwal, Inc. is part of the UTC Climate Control & Security

unit of United Technologies Corporation.



                                               18
     2:22-cv-02513-RMG           Date Filed 08/01/22       Entry Number 1        Page 19 of 45




       70.     UTC designed, marketed, developed, manufactured, distributed, released, trained

users, produced instructional materials, sold, and/or otherwise handled and/or used AFFF

containing PFAS that are the subject of this Complaint. Further, defendant designed, marketed,

developed, manufactured, distributed, released, trained users, produced instructional materials,

promoted, sold and/or otherwise handled and/or used underlying chemicals and/or products added

to AFFF which contained PFAS for use in firefighting.

       71.     When reference is made in this Complaint to any act or omission of any of the

Defendants, it shall be deemed that the officers, directors, agents, employees, or representatives of

the Defendants committed or authorized such act or omission, or failed to adequately supervise or

properly control or direct their employees while engaged in the management, direction, operation,

or control of the affairs of Defendants, and did so while acting within the scope of their duties,

employment or agency.

       72.     The term “Defendant” or “Defendants” refers to all Defendants named herein

jointly and severally, unless otherwise stated.

                                   FACTUAL ALLEGATIONS

       73.     Aqueous Film-Forming Foam (“AFFF”) is a combination of chemicals used to

extinguish hydrocarbon fuel-based fires.

       74.     AFFF-containing fluorinated surfactants have better firefighting capabilities than

water due to their surfactant-tension lowering properties which allow the compound(s) to

extinguish fire by smothering, ultimately starving it of oxygen.

       75.     AFFF is a Class-B firefighting foam. It is mixed with water and used to extinguish

fires that are difficult to fight, particularly those that involve petroleum or other flammable liquids.




                                                  19
     2:22-cv-02513-RMG          Date Filed 08/01/22    Entry Number 1       Page 20 of 45




        76.    Defendants designed, marketed, developed, manufactured, distributed, released,

trained users, produced instructional materials, promoted, sold, and/or otherwise handled AFFF

containing toxic PFAS or underlying PFAS containing chemicals used in AFFF production that

were used by entities around the country, including military, county, and municipal firefighting

departments.

        77.    Defendants have each designed, marketed, developed, manufactured, distributed,

released, trained users on, produced instructional materials for, sold, and/or otherwise handled

and/or used AFFF containing PFAS, in such a way as to cause the contamination of Plaintiff’s

blood and/or body with PFAS, and the resultant biopersistence and bioaccumulation of such PFAS

in the blood and/or body of Plaintiff.

        78.    AFFF was introduced commercially in the mid-1960s and rapidly became the

primary firefighting foam in the United States and in other parts of the world. It contains PFAS,

which are highly fluorinated synthetic chemical compounds whose family include PFOS and

PFOA.

        79.    PFAS are a family of chemical compounds containing fluorine and carbon atoms.

        80.    PFAS have been used for decades in the manufacture of AFFF. The PFAS family

of chemicals are entirely human-made and do not naturally occur or otherwise exist.

        81.    Prior to commercial development and large-scale manufacture and use of AFFF

containing PFAS, no such PFAS had been found or detected in human blood.

        A.     AFFF / PFAS Hazardous Effects on Humans

        82.    AFFF and its components are associated with a wide variety of adverse health

effects in humans.




                                               20
      2:22-cv-02513-RMG         Date Filed 08/01/22       Entry Number 1       Page 21 of 45




        83.    Exposure to Defendants’ AFFF has been linked to serious medical conditions

including, but not limited to, kidney cancer, testicular cancer, liver cancer, testicular tumors,

pancreatic cancer, prostate cancer, leukemia, lymphoma, bladder cancer, thyroid disease and

infertility.

        84.    By at least the end of the 1960s, animal toxicity testing performed by Defendants

manufacturing and/or using PFAS indicated that exposure to such materials, including at least

PFOA, resulted in various adverse health effects among multiple species of laboratory animals,

including toxic effects to the liver, testes, adrenals, and other organs and bodily systems.

        85.    By at least the end of the 1960s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that such materials, including at least

PFOA, because of their unique chemical structure, were resistant to environmental degradation

and would persist in the environment essentially unaltered if allowed to enter the environment.

        86.    By at least the end of the 1970s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that one or more such materials, including

at least PFOA and PFOS, because of their unique chemical structure, would bind to proteins in the

blood of animals and humans exposed to such materials where such materials would remain and

persist over long periods of time and would accumulate in the blood/body of the exposed

individuals with each additional exposure.

        87.    By at least the end of the 1980s, additional research and testing performed by

Defendants manufacturing and/or using PFAS indicated that at least one such PFAS, PFOA, had

caused Leydig cell (testicular) tumors in a chronic cancer study in rats, resulting in at least one

such Defendant, DuPont, classifying such PFAS internally as a confirmed animal carcinogen and

possible human carcinogen.



                                                 21
     2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1       Page 22 of 45




       88.     It was understood by Defendants by at least the end of the 1980s that a chemical

that caused cancer in animal studies must be presumed to present a cancer risk to humans, unless

the precise mechanism of action by which the tumors were caused was known and would not occur

in humans.

       89.     By at least the end of the 1980s, scientists had not determined the precise

mechanism of action by which any PFAS caused tumors. Therefore, scientific principles of

carcinogenesis classification mandated Defendants presume any such PFAS material that caused

tumors in animal studies could present a potential cancer risk to exposed humans.

       90.     By at least the end of the 1980s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, including at least DuPont, indicated that elevated

incidence of certain cancers and other adverse health effects, including elevated liver enzymes and

birth defects, had been observed among workers exposed to such materials, including at least

PFOA, but such data was not published, provided to governmental entities as required by law, or

otherwise publicly disclosed at the time.

       91.     By at least the end of the 1980s, Defendants, including at least 3M and DuPont,

understood that, not only did PFAS, including at least PFOA and PFOS, get into and persist and

accumulate in the human blood and in the human body, but that once in the human body and blood,

particularly the longer-chain PFAS, such as PFOS and PFOA, had a long half-life. Meaning that

it would take a very long time before even half of the material would start to be eliminated, which

allowed increasing levels of the chemicals to build up and accumulate in the blood and/or body of

exposed individuals over time, particularly if any level of exposure continued.

       92.     By at least the end of the 1990s, additional research and testing performed by

Defendants manufacturing and/or using PFAS, including at least 3M and DuPont, indicated that



                                                22
     2:22-cv-02513-RMG          Date Filed 08/01/22     Entry Number 1      Page 23 of 45




at least one such PFAS, PFOA, had caused a triad of tumors (Leydig cell (testicular), liver, and

pancreatic) in a second chronic cancer study in rats.

       93.     By at least the end of the 1990s, the precise mechanism(s) of action by which any

PFAS caused each of the tumors found in animal studies had still not been identified, mandating

that Defendants continue to presume that any such PFAS that caused such tumors in animal studies

could present a potential cancer risk to exposed humans.

       94.     By at least 2010, additional research and testing performed by Defendants

manufacturing and/or using PFAS, including at least 3M and DuPont, revealed multiple potential

adverse health impacts among workers exposed to such PFAS, including at least PFOA, such as

increased cancer incidence, hormone changes, lipid changes, and thyroid and liver impacts.

       95.     When the United States Environmental Protection Agency (“USEPA”) and other

state and local public health agencies and officials first began learning of PFAS exposure in the

United States and potential associated adverse health effects, Defendants repeatedly assured and

represented to such entities and the public that such exposure presented no risk of harm and were

of no significance.

       96.     After the USEPA and other entities began asking Defendants to stop manufacturing

and/or using certain PFAS, Defendants began manufacturing and/or using and/or began making

and/or using more of certain other and/or “new” PFAS, including PFAS materials with six or fewer

carbons, such as GenX (collectively “Short-Chain PFAS”).

       97.     Defendants manufacturing and/or using Short-Chain PFAS, including at least

DuPont and 3M, are aware that one or more such Short-Chain PFAS materials also have been

found in human blood.




                                                23
     2:22-cv-02513-RMG          Date Filed 08/01/22      Entry Number 1      Page 24 of 45




       98.     By at least the mid-2010s, Defendants, including at least DuPont and Chemours,

were aware that at least one Short-Chain PFAS had been found to cause the same triad of tumors

(Leydig (testicular), liver, and pancreatic) in a chronic rat cancer study as had been found in a

chronic rat cancer study with a non-Short-Chain PFAS.

       99.     Research and testing performed by and/or on behalf of Defendants making and/or

using Short-Chain PFAS indicates that such Short-Chain PFAS materials present the same, similar,

and/or additional risks to human health as had been found in research on other PFAS materials,

including cancer risk.

       100.    Nevertheless, Defendants repeatedly assured and represented to governmental

entities and the public (and continue to do so) that the presence of PFAS, including Short-Chain

PFAS, in human blood at the levels found within the United States present no risk of harm and is

of no legal, toxicological, or medical significance of any kind.

       101.    At all relevant times, Defendants, individually and/or collectively, possessed the

resources and ability but have intentionally, purposefully, recklessly, and/or negligently chosen

not to fund or sponsor any study, investigation, testing, and/or other research of any kind of the

nature that Defendants claim is necessary to confirm and/or prove that the presence of any one

and/or combination of PFAS in human blood causes any disease and/or adverse health impact of

any kind in humans, presents any risk of harm to humans, and/or is of any legal, toxicological, or

medical significance to humans, according to standards Defendants deem acceptable.

       102.    Even after an independent science panel, known as the “C8 Science Panel,”

publicly announced in the 2010s that human exposure to 0.05 parts per billion or more of one

PFAS, PFOA, had “probable links” with certain human diseases, including kidney cancer,

testicular cancer, ulcerative colitis, thyroid disease, preeclampsia, and medically-diagnosed high



                                                24
     2:22-cv-02513-RMG          Date Filed 08/01/22      Entry Number 1       Page 25 of 45




cholesterol, Defendants repeatedly assured and represented to governmental entities, their

customers, and the public (and continue to do so) that the presence of PFAS in human blood at the

levels found within the United States presents no risk of harm and is of no legal, toxicological, or

medical significance of any kind, and have represented to and assured such governmental entities,

their customers, and the public (and continue to do so) that the work of the independent C8 Science

Panel was inadequate.

        103.    At all relevant times, Defendants shared and/or should have shared among

themselves all relevant information relating to the presence, biopersistence, and bioaccumulation

of PFAS in human blood and associated toxicological, epidemiological, and/or other adverse

effects and/or risks.

        104.    As of the present date, blood serum testing and analysis by Defendants, independent

scientific researchers, and/or government entities has confirmed that PFAS materials are clinically

demonstrably present in approximately 99% of the current population of the United States.

        105.    There is no naturally-occurring “background,” normal, and/or acceptable level or

rate of any PFAS in human blood, as all PFAS detected and/or present in human blood is present

and/or detectable in such blood as a direct and proximate result of the acts and/or omissions of

Defendants.

        106.    At all relevant times, Defendants, through their acts and/or omissions, controlled,

minimized, trivialized, manipulated, and/or otherwise influenced the information that was

published in peer-review journals, released by any governmental entity, and/or otherwise made

available to the public relating to PFAS in human blood and any alleged adverse impacts and/or

risks associated therewith, effectively preventing Plaintiff from discovering the existence and

extent of any injuries/harm as alleged herein.



                                                 25
     2:22-cv-02513-RMG             Date Filed 08/01/22    Entry Number 1         Page 26 of 45




       107.     At all relevant times, Defendants, through their acts and/or omissions, took steps to

attack, challenge, discredit, and/or otherwise undermine any scientific studies, findings,

statements, and/or other information that proposed, alleged, suggested, or even implied any

potential adverse health effects or risks and/or any other fact of any legal, toxicological, or medical

significance associated with the presence of PFAS in human blood.

       108.     At all relevant times, Defendants, through their acts and/or omissions, concealed

and/or withheld information from their customers, governmental entities, and the public that would

have properly and fully alerted Plaintiff to the legal, toxicological, medical, or other significance

and/or risk from having any PFAS material in Plaintiff’s blood.

       109.     At all relevant times, Defendants encouraged the continued and even further

increased use of PFAS by their customers and others, including but not limited to the manufacture,

use, and release, of AFFF containing PFAS and/or emergency responder protection gear or

equipment coated with materials made with or containing PFAS, and tried to encourage and foster

the increased and further use of PFAS in connection with as many products/uses/and applications

as possible, despite knowledge of the toxicity, persistence, and bioaccumulation concerns

associated with such activities.

       110.     To this day, Defendants deny that the presence of any PFAS in human blood, at any

level, is an injury or presents any harm or risk of harm of any kind, or is otherwise of any legal,

toxicological, or medical significance.

       111.     To this day, Defendants deny that any scientific study, research, testing, or other

work of any kind has been performed that is sufficient to suggest to the public that the presence of

any PFAS material in human blood, at any level, is of any legal, toxicological, medical, or other

significance.



                                                  26
     2:22-cv-02513-RMG           Date Filed 08/01/22       Entry Number 1     Page 27 of 45




        112.   Defendants, to this day, affirmatively assert and represent to governmental entities,

their customers, and the public that there is no evidence that any of the PFAS found in human

blood across the United States causes any health impacts or is sufficient to generate an increased

risk of future disease sufficient to warrant diagnostic medical testing, often referring to existing

studies or data as including too few participants or too few cases or incidents of disease to draw

any scientifically credible or statistically significant conclusions.

        113.   Defendants were and/or should have been aware, knew and/or should have known,

and/or foresaw or should have foreseen that their design, marketing, development, manufacture,

distribution, release, training and response of users, production of instructional materials, sale

and/or other handling and/or use of AFFF containing PFAS would result in the contamination of

the blood and/or body of Plaintiff with PFAS, and the biopersistence and bioaccumulation of such

PFAS in his blood and/or body.

        114.   Defendants were and /or should have been aware, or knew and/or should have

known, and/or foresaw or should have foreseen that allowing PFAS to contaminate the blood

and/or body of Plaintiff would cause injury, irreparable harm, and/or unacceptable risk of such

injury and/or irreparable harm to Plaintiff.

        115.   Defendants did not seek or obtain permission or consent from Plaintiff before

engaging in such acts and/or omissions that caused, allowed, and/or otherwise resulted in

Plaintiff’s exposure to AFFF and the contamination of Plaintiff’s blood and/or body with PFAS

materials, and resulting biopersistence and bioaccumulation of such PFAS in his blood and/or

body.

        B.     Defendants’ History of Manufacturing and Selling AFFF




                                                  27
     2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1       Page 28 of 45




       116.    3M began producing PFOS and PFOA by electrochemical fluorination in the 1940s.

In the 1960s, 3M used its fluorination process to develop AFFF.

       117.    3M manufactured, marketed, and sold AFFF from the 1960s to the early 2000s.

       118.    National Foam and Tyco/Ansul began to manufacture, market, and sell AFFF in

the 1970s.

       119.    Buckeye began to manufacture, market, and sell AFFF in the 2000s.

       120.    In 2000, 3M announced it was phasing out its manufacture of PFOS, PFOA, and

related products, including AFFF. 3M, in its press release announcing the phase out, stated “our

products are safe,” and that 3M’s decision was “based on [its] principles of responsible

environment management.” 3M further stated that “the presence of these materials at [] very low

levels does not pose a human health or environmental risk.” In communications with the EPA at

that time, 3M also stated that it had “concluded that…other business opportunities were more

deserving of the company’s energies and attention…”

       121.    Following 3M’s exit from the AFFF market, the remaining Defendants continued

to manufacture and sell AFFF that contained PFAS and/or its precursors.

       122.    Defendants knew their customers warehoused large stockpiles of AFFF. In fact,

Defendants marketed their AFFF products by touting its shelf-life. Even after Defendants fully

understood the toxicity of PFAS, and their impacts to the health of humans following exposure,

Defendants concealed the true nature of PFAS. While Defendants phased out production or

transitioned to other formulas, they did not instruct their customers that they should not use AFFF

that contained PFAS and/or their precursors. Defendants further did not act to get their harmful

products off the market.




                                                28
     2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1       Page 29 of 45




       123.    Defendants did not warn public entities, firefighter trainees who they knew would

foreseeably come into contact with their AFFF products, or firefighters employed by either civilian

and/or military employers that use of and/or exposure to Defendants’ AFFF products containing

PFAS and/or its precursors would pose a danger to human health

       124.    The Plaintiff directly used, was exposed, and/or was given AFFF to help fight fires

on a regular basis.

       125.    The Plaintiff was never informed that this product was inherently dangerous. Nor

was the Plaintiff warned about the known health risks associated with this product.

       126.    The Plaintiff never received or was told to use any protective gear to guard against

the known dangerous propensities of this product.

       127.    Defendants have known of the health hazards associated with AFFF and/or its

compounds for decades and that in their intended and/or common use would harm human health.

       128.    Information regarding AFFF and its compounds were readily accessible to each of

the above-referenced Defendants for decades because each is an expert in the field of AFFF

manufacturing and/or the materials needed to manufacture AFFF, and each has detailed

information and understanding about the chemical compounds that form AFFF products.

       129.    The AFFF Defendants’ manufacture, distribution and/or sale of AFFF resulted in

the Plaintiff and other individuals who came in contact with the chemical to develop cancer.

       130.    The AFFF Defendants through their manufacturing, distribution and/or sale of

AFFF, and through their involvement and/or participation in the creation of training and

instructional materials and activities, knew, foresaw, and/or should have known and/or foreseen

that the Plaintiff and those similarly situated would be harmed.




                                                29
     2:22-cv-02513-RMG           Date Filed 08/01/22    Entry Number 1      Page 30 of 45




       131.    The AFFF Defendants’ products were unreasonably dangerous and the Defendants

failed to warn of this danger.

       C.      Plaintiff William Whelchel’s Exposure to AFFF

       132.    For decades, AFFF containing PFAS has been used in firefighter training and

response exercises at military bases, airports and/or fire departments across the country,

including in California, Virgnia and Florida. The AFFF containing PFAS, which was designed,

manufactured, marketed, distributed and/or sold by Defendants, was expected to, and did, reach

the military bases, airports and/or fire departments in California, Virgnia and Florida without

substantial change in the condition in which it was sold.

       133.    The descriptive labels and data sheets for the AFFF containing PFAS utilized at

military bases, airports and/or fire departments in California, Virgnia and Florida did not

reasonably nor adequately describe the hazards of AFFF containing PFAS. Defendants knew or

should have known of these hazards when the product was distributed. Defendants manufactured,

designed, marketed, distributed, and/or sold the AFFF, and/or underlying chemicals and/or

products added to AFFF, knowing that the PFAS contained in the AFFF presented an

unreasonable risk to human health and are inherently dangerous knowing that the PFAS

contained in the AFFF presented an unreasonable risk to human health and are inherently

dangerous.

       134.    Plaintiff William Whelchel has worked as a volunteer and professional

firefighter for the U.S. Navy for approximately sixteen years from 1989 through 2005. During

this time, Plaintiff used AFFF containing PFAS in firefighting training and response exercises,

and used equipment/gear treated and/or coated with materials containing and/or contaminated

with one or more PFAS. Plaintiff William Whelchel was exposed to AFFF containing PFAS



                                                30
     2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1      Page 31 of 45




numerous times over the course of his career.

       135.    Plaintiff William Whelchel was diagnosed with testicular cancer as a result of

exposure to Defendants’ AFFF products containing PFAS. Plaintiff suffered, and continues to

suffer, the effects attendant thereto, as a direct and proximate result of the unreasonably

dangerous and defective nature of Defendants’ wrongful and negligent conduct in the design,

engineering, manufacture, development, fabrication, testing, release, training and response of

users, production of informational materials, handling, selling, use, and/or distribution of AFFF

containing PFAS.

       136.    As detailed above and below, Defendant manufacturers of AFFF, and/or

underlying chemicals and/or products added to AFFF which contained PFAS for use in

firefighting, through their officers, directors, partners, and/or managing agents had actual

knowledge that the products were defective in the manner alleged above and took affirmative

steps to conceal the defects.

                                      CAUSES OF ACTION

                                   COUNT I – NEGLIGENCE

       137.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       138.    Defendants had a duty to individuals, including the Plaintiff, to exercise reasonable

ordinary, and appropriate care in the manufacturing, design, labeling, packaging, testing,

instruction, warning, selling, marketing, distribution, and training related to the AFFF product.

       139.    Defendants breached their duty of care and were negligent, grossly negligent,

reckless and willful as described herein in the design, manufacture, labeling, warning, instruction,




                                                 31
     2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1      Page 32 of 45




training, selling, marketing, and distribution of the AFFF products or underlying PFAS containing

chemicals used in AFFF production in one or more of the following respects:

               a.      Failing to design the products so as to avoid an unreasonable risk of harm
                       to individuals, including the Plaintiff;

               b.      Failing to use reasonable care in the testing of the products so as to avoid
                       an unreasonable risk of harm to individuals, including the Plaintiff;

               c.      Failing to use appropriate care in inspecting the products so as to avoid an
                       unreasonable risk of harm to individuals, including the Plaintiff;

               d.      Failing to use appropriate care in instructing and/or warning the public as
                       set forth herein of risks associated with the products, so as to avoid
                       unreasonable risk of harm to individuals, including the Plaintiff;

               e.      Failing to use reasonable care in marketing, promoting, and advertising the
                       products so as to avoid unreasonable risk of harm to individuals, including
                       the Plaintiff;

               f.      Otherwise negligently or carelessly designing, manufacturing, marketing,
                       distributing, warning; and

               g.      In selling and or distributing a product which was inherently dangerous to
                       the public.

       140.    As a direct and proximate result of Defendants’ negligence, the Plaintiff has been

injured, sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment

of life, loss of care, comfort, economic loss and damages including, but not limited to medical

expenses, lost income, and/or other damages.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                           COUNT II – INADEQUATE WARNING

       141.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

                                                 32
     2:22-cv-02513-RMG         Date Filed 08/01/22      Entry Number 1       Page 33 of 45




       142.    Defendants knew or should have known:

               a.     Exposure to AFFF containing PFAS was hazardous to human health;

               b.     The manner in which they were designing, marketing, developing,
                      manufacturing, distributing, releasing, training, instructing, promoting, and
                      selling AFFF containing PFAS was hazardous to human health; and

               c.     The manner in which they were designing, marketing, developing,
                      manufacturing, marketing, distributing, releasing, training, instructing,
                      promotion and selling AFFF containing PFAS would result in the
                      contamination of Plaintiff’s blood and/or body as a result of exposure.

       143.    Defendants had a duty to warn of the hazards associated with AFFF containing

PFAS entering the blood and/or body of Plaintiff because they knew of the dangerous, hazardous,

and toxic properties of AFFF containing PFAS. Defendants failed to provide sufficient warning to

purchasers that the use of their AFFF products would cause PFAS to be released and cause the

exposure and bioaccumulation of these toxic chemicals in the blood and/or body of Plaintiff.

       144.    Adequate instructions and warnings on the AFFF containing PFAS could have

reduced or avoided these foreseeable risks of harm and injury to Plaintiff. If Defendants provided

adequate warnings:

               a.     Plaintiff could have and would have taken measures to avoid or lessen
                      exposure; and

               b.     End users and governments could have taken steps to reduce or prevent the
                      release of PFASs into the blood and/or body of Plaintiff. Defendants’ failure
                      to warn was a direct and proximate cause of Plaintiff’s injuries from PFAS
                      that came from the use, storage, and disposal of AFFF containing PFAS.
                      Crucially, Defendants’ failure to provide adequate and sufficient warnings
                      for the AFFF containing PFAS they designed, marketed, manufactured,
                      distributed, released, promoted, and sold renders the AFFF a defective
                      product.

       145.    Defendants were negligent in their failure to provide Plaintiff with adequate

warnings or instruction that the use of their AFFF products would cause PFAS to be released into




                                               33
     2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1      Page 34 of 45




the blood and/or body of Plaintiff. As a result of Defendants’ conduct and the resulting

contamination, Plaintiff suffered severe personal injuries by exposure to AFFF containing PFAS.

       146.    Defendants’ negligent failure to warn directly and proximately caused the harm to

and damages suffered by Plaintiff.

       WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                                COUNT III – DESIGN DEFECT

       147.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       148.    Defendants knew or should have known:

               a.      Exposure to AFFF containing PFAS is hazardous to human health;

               b.      The manner in which AFFF containing PFAS was designed, manufactured,
                       marketed, distributed, and sold was hazardous to human health; and

               c.      The manner in which AFFF containing PFAS was designed, manufactured,
                       marketed, distributed, and could and would release PFAS into Plaintiff and
                       cause the exposure and bioaccumulation of these toxic and poisonous
                       chemicals in the blood and/or body of Plaintiff.

       149.    Knowing of the dangerous and hazardous properties of the AFFF containing PFAS,

Defendants could have designed, manufactured, marketed, distributed, and sold alternative designs

or formulations of AFFF that did not contain hazardous and toxic PFAS. These alternative designs

and formulations were already available, practical, and technologically feasible. The use of these

alternative designs would have reduced or prevented reasonably foreseeable harm to Plaintiff

caused by the Defendants’ design, manufacture, marketing, distribution, and sale of AFFF

containing hazardous and toxic PFAS.



                                                 34
     2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1       Page 35 of 45




       150.    The AFFF containing PFAS that was designed, manufactured, marketed,

distributed, and sold by the Defendants was so hazardous, toxic, and dangerous to human health

that the act of designing, formulating, manufacturing, marketing, distributing, and selling this

AFFF was unreasonably dangerous under the circumstances.

       151.    The AFFF designed, formulated, manufactured, marketed, distributed, and sold by

Defendants was defectively designed and the foreseeable risk of harm could and would have been

reduced or eliminated by the adoption of a reasonable alternative design that was not unreasonably

dangerous. Defendants’ defective design and formulation of AFFF containing PFAS was a direct

and proximate cause of the contamination of the blood and/or body of Plaintiff and the persistence

and accumulation of PFAS in Plaintiff’s blood and/or body.

       152.    Defendants’ defective design and formulation of AFFF containing PFAS caused

the contamination described herein resulting in personal injuries to Plaintiff. As a direct result of

the harm and injury caused by Defendants’ defective design and the contamination described

herein, Plaintiff has been exposed to AFFF containing PFAS and other toxic substances and has

developed cancer.

       153.    Defendants’ negligent failure to design a reasonably safe product directly and

proximately caused the harm to and damages suffered by Plaintiff.

       WHEREFORE, the Plaintiff pray judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                     COUNT IV – STRICT LIABILITY (STATUTORY)

       154.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.



                                                 35
     2:22-cv-02513-RMG           Date Filed 08/01/22        Entry Number 1       Page 36 of 45




        155.    Plaintiff asserts any and all remedies available under statutory causes of action from

Plaintiff’s state for strict liability against each Defendant.

        156.    The Defendants were engaged in designing, manufacturing, marketing, selling, and

distribution of AFFF.

        157.    AFFF was in a defective condition and unreasonably dangerous to users and/or

consumers when designed, manufactured, marketed, sold, and/or distributed to the public by the

Defendants.

        158.    As a direct and proximate result of the Defendants’ products aforementioned

defects, the Plaintiff has been injured, sustained severe and permanent pain, suffering, disability,

impairment, loss of enjoyment of life, loss of care, comfort, economic loss and damages including,

but not limited to medical expenses, lost income, and other damages.

        159.    The Defendants are strictly liable in tort to the Plaintiff for their wrongful conduct.

        WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                     COUNT V – STRICT LIABILITY (RESTATEMENT)

        160.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

        161.    The Plaintiff brings strict product liability claims under the common law, Section

402A of the Restatement of Torts (Second), and/or Restatement of Torts (Third) against

Defendants.

        162.    As designed, manufactured, marketed, tested, assembled, equipped, distributed

and/or sold by the Defendants the AFFF product was in a defective and unreasonably dangerous



                                                   36
     2:22-cv-02513-RMG           Date Filed 08/01/22       Entry Number 1       Page 37 of 45




condition when put to reasonably anticipated use to foreseeable consumers and users, including

the Plaintiff.

        163.     The Defendants had available reasonable alternative designs which would have

made the AFFF product safer and would have most likely prevented the injuries and damages to

the Plaintiff, thus violating state law and the Restatement of Torts.

        164.     The Defendants failed to properly and adequately warn and instruct the Plaintiff as

to the proper safety and use of the Defendants product.

        165.     The Defendants failed to properly and adequately warn and instruct the Plaintiff

regarding the inadequate research and testing of the product.

        166.     The Defendants’ products are inherently dangerous and defective, unfit and unsafe

for their intended and reasonably foreseeable uses, and do not meet or perform to the expectations.

        167.     As a proximate result of the Defendants’ design, manufacture, marketing, sale, and

distribution of the products, the Plaintiff has been injured and sustained severe and permanent pain,

suffering, disability, impairment, loss of enjoyment of life, loss of care, comfort, and consortium,

and economic damages.

        168.     By reason of the foregoing, the Defendants are strictly liable for the injuries and

damages suffered by the Plaintiff, caused by these defects in the AFFF product.

        WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                        COUNT VI – FRAUDULENT CONCEALMENT

        169.     Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.



                                                  37
     2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1       Page 38 of 45




       170.    Throughout the relevant time period, Defendants knew that their products were

defective and unreasonably unsafe for their intended purpose.

       171.    Defendants fraudulently concealed from and/or failed to disclose to or warn the

Plaintiff, and the public that their products were defective, unsafe, and unfit for the purposes

intended, and that they were not of merchantable quality.

       172.    Defendants were under a duty to the Plaintiff and the public to disclose and warn

of the defective and harmful nature of the products because:

               a.      Defendants were in a superior position to know the true quality, safety and
                       efficacy of the Defendants’ products;

               b.      Defendants knowingly made false claims about the safety and quality of the
                       Defendants’ product in documents and marketing materials; and

               c.      Defendants fraudulently and affirmatively concealed the defective nature of
                       the Defendants’ products from the Plaintiff.

       173.    The facts concealed and/or not disclosed by Defendants to the Plaintiff were

material facts that a reasonable person would have considered to be important in deciding whether

or not to purchase and/or use the Defendants’ products.

       174.    Defendants intentionally concealed and/or failed to disclose the true defective

nature of the products so that the Plaintiff would use the Defendants’ products, the Plaintiff

justifiably acted or relied upon, to Plaintiff’s detriment, the concealed and/or non-disclosed facts

as evidenced by Plaintiff’s use of the Defendants’ products.

       175.    Defendants, by concealment or other action, intentionally prevented the Plaintiff

from acquiring material information regarding the lack of safety and effectiveness of the

Defendants’ products and are subject to the same liability to the Plaintiff for Plaintiff’s pecuniary

losses, as though Defendants had stated the non-existence of such material information regarding

the Defendants’ products’ lack of safety and effectiveness and dangers and defects, and as though

                                                 38
     2:22-cv-02513-RMG           Date Filed 08/01/22       Entry Number 1       Page 39 of 45




Defendants had affirmatively stated the non-existence of such matters that the Plaintiff was thus

prevented from discovering the truth. Defendants therefore have liability for fraudulent

concealment under all applicable laws, including, inter alia, Restatement (Second) of Torts §550

(1977).

          176.   As a proximate result of Defendants’ conduct, the Plaintiff has been injured, and

sustained severe and permanent pain, suffering, disability, impairment, loss of enjoyment of life,

loss of care, comfort, and economic damages.

          WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

             COUNT VII – BREACH OF EXPRESS AND IMPLIED WARRANTIES

          177.   Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

          178.   At all times relevant hereto, the Defendants manufactured, marketed, labeled, and

sold the AFFF products that has been previously alleged and described herein.

          179.   At the time the Defendants designed, developed, marketed, sold, labeled, and

distributed the AFFF products, the Defendants knew of the use for which it was intended, and

implied and/or expressly warranted that the product was merchantable, safe, and fit for its intended

purpose.

          180.   The Defendants warranted that the product was merchantable and fit for the

particular purpose for which it was intended and would be reasonably safe. These warranties were

breached, and such breach proximately resulted in the injuries and damages suffered by the

Plaintiff.



                                                  39
     2:22-cv-02513-RMG           Date Filed 08/01/22       Entry Number 1       Page 40 of 45




          181.   The Plaintiff is within the class of foreseeable users and reasonably relied upon

Defendants' judgment, and the implied and/or express warranties in using the products.

          182.   The Defendants breached their implied and/or express warranties and did not meet

the expectations for the performance of the product when used for its intended use and was neither

of merchantable quality nor safe for its intended use in that the product has a propensity to cause

serious injury, pain, and cancer.

          WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

                                 COUNT VIII – WANTONNESS

          183.   Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

          184.   Defendants and their employees, agents, officers, and representatives owed a duty

of care to end users of their AFFF products, including Plaintiff.

          185.   Defendants breached the duty of care owed to the Plaintiff.

          186.   The actions of Defendants and their employees, agents, officers, and

representatives were willful and wanton and exhibited a reckless disregard for the life, health, and

safety of the end users of Defendants’ AFFF products, including Plaintiff.

          187.   As a proximate and foreseeable consequent of the actions of Defendants, Plaintiff

was exposed to unreasonably dangerous toxic PFAS containing AFFF, which caused Plaintiff’s

injury.




                                                  40
     2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1      Page 41 of 45




       WHEREFORE, the Plaintiff prays judgments against the Defendants for actual,

compensatory, consequential, and punitive damages, together with the costs of this action, and for

such other and further relief as this Court may deem fit, just, and proper.

      COUNT IX – ACTUAL FRAUDULENT TRANSFER (DuPont and Chemours)

       188.    Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

       189.    Through their effectuation of the Spinoff, Chemours and DuPont (the “Fraudulent

Transfer Defendants”) caused Chemours to transfer valuable assets to DuPont, including but not

limited to the $3.9 billion dividend (the “Transfers”), while simultaneously assuming significant

liabilities (the “Assumed Liabilities”).

       190.    The Transfers and Assumed Liabilities were made for the benefit of DuPont.

       191.    At the time that the Transfers were made and the Liabilities were assumed, and

until the Spinoff was complete, DuPont was in a position to, and in fact did, control and dominate

Chemours.

       192.    The Fraudulent Transfer Defendants made the Transfers and incurred the Assumed

Liabilities with the actual intent to hinder, delay and defraud the creditors or future creditors of

Chemours.

       193.    Plaintiff has been harmed as a result of the conduct of the Fraudulent Transfer

Defendants.

       194.    Under Del. Code Tit. 6 Sec 1301 to 1312, Plaintiff is entitled to avoid the Transfers

and to recover property or value transferred to DuPont.

  COUNT X – CONSTRUCTIVE FRAUDULENT TRANSFER (DuPont and Chemours)




                                                 41
     2:22-cv-02513-RMG          Date Filed 08/01/22       Entry Number 1      Page 42 of 45




        195.   Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

        196.   Chemours did not receive reasonably equivalent value from DuPont in exchange

for the Transfers and Assumed Liabilities.

        197.   Each of the Transfers and Chemours’ assumption of the Assumed Liabilities was

made to or for the benefit of DuPont.

        198.   At the time that the Transfers were made and the Assumed Liabilities were

assumed, and until the Spinoff was complete, DuPont was in a position to, and in fact did, control

and dominate Chemours.

        199.   The Fraudulent Transfer Defendants made the Transfers and assumed the Assumed

Liabilities when Chemours was engaged or about to be engaged in a business for which its

remaining assets were unreasonably small in relation to its business.

        200.   Chemours was insolvent or in contemplation of insolvency at the time of the

Transfers, or became insolvent as a result of the Transfers and its assumption of the Assumed

Liabilities.

        201.   At the time that the Transfers were made and Chemours assumed the Assumed

Liabilities, the Fraudulent Transfer Defendants intended to incur, or believed or reasonably should

have believed, that Chemours would incur debts beyond its ability to pay as they became due.

        202.   Plaintiff has been harmed as a result of the Transfers.

        203.   Under Del. Code Tit. 6 Sec 1301 to 1312, Plaintiff is entitled to avoid the Transfers

and to recover property or value transferred to DuPont.

                     TOLLING OF THE STATUTE OF LIMITATIONS

                                      Discovery Rule Tolling



                                                 42
     2:22-cv-02513-RMG           Date Filed 08/01/22        Entry Number 1       Page 43 of 45




        204.    Plaintiff had no way of knowing about the risk of serious injury associated with the

use of and exposure to AFFF until very recently.

        205.    Within the time period of any applicable statute of limitations, Plaintiff could not

have discovered, through the exercise of reasonable diligence, that exposure to AFFF is harmful

to human health.

        206.    Plaintiff did not discover and did not know of facts that would cause a reasonable

person to suspect the risk associated with the use of and exposure to AFFF; nor would a reasonable

and diligent investigation by Plaintiff have disclosed that AFFF could cause personal injury.

        207.    For these reasons, all applicable statutes of limitations have been tolled by operation

of the discovery rule with respect to Plaintiff’s claims.

                                 Fraudulent Concealment Tolling

        208.    All applicable statute of limitations have also been tolled by Defendants knowing

and active fraudulent concealment and denial of the facts alleged herein throughout the time period

relevant to this action.

        209.    Instead of disclosing critical safety information regarding AFFF, Defendants have

consistently and falsely represented the safety of AFFF products.

        210.    This fraudulent concealment continues through present day.

        211.    Due to this fraudulent concealment, all applicable statutes of limitations have been

tolled by operation of the discovery rule with respect to Plaintiff’s claims.

                                              Estoppel

        212.    Defendants were under a continuous duty to consumer, end users, and other persons

coming into contact with their products, including Plaintiff, to accurately provide safety

information concerning its products and the risk associated with the use of and exposure to AFFF.



                                                  43
     2:22-cv-02513-RMG           Date Filed 08/01/22      Entry Number 1      Page 44 of 45




        213.   Instead, Defendants knowingly, affirmatively, and actively concealed safety

information concerning AFFF and the serious risks associated with the use of and exposure to

AFFF.

        214.   Based on the foregoing, Defendants are estopped from relying on any statute of

limitations in defense of this action.

                                         PUNITIVE DAMAGES

        215.   Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if restated in full herein.

        216.   Upon information and belief, Defendants engaged in willful, wanton, malicious,

and or/reckless conduct that was done without regard to the consequences or the safety of Plaintiff

and caused the foregoing injuries upon Plaintiff, disregarding his protected rights.

        217.   Defendants’ willful, wanton, malicious, and/or reckless conduct includes but is not

limited to Defendants’ failure to take all reasonable measures to ensure Plaintiff was not exposed

to PFAS which Defendants knew were linked to serious medical conditions.

        218.   Defendants have caused significant harm to Plaintiff and have demonstrated a

conscious and outrageous disregard for their safety with implied malice, warranting the imposition

of punitive damages.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff requests the Court enter judgment against the Defendants on

 each of the above-referenced claims as follows:

                 a.     Finding Defendants jointly and severally liable for past, present and
                        future damages suffered by Plaintiff;

                 b.     Awarding compensatory damages in excess of the jurisdictional
                        amount, including, but not limited to pain, suffering, emotional
                        distress, loss of enjoyment of life, and other non-economic

                                                 44
     2:22-cv-02513-RMG           Date Filed 08/01/22       Entry Number 1      Page 45 of 45




                         damages in an amount to be determined at trial of this action;

                 c.      Awarding economic damages in the form of medical expenses,
                         out of pocket expenses, lost earnings and other economic damages
                         in an amount to be determine at trial of this action;

                 d.      Punitive and/or exemplary damages for the wanton, willful,
                         fraudulent, reckless acts of the Defendants who demonstrated a
                         complete disregard and reckless indifference for the safety and
                         welfare of the general public and to the Plaintiff in an amount
                         sufficient to punish Defendants and deter future similar conduct;

                 e.      An order finding Defendants liable for conspiracy in the manner
                         described herein;

                 f.      Prejudgment interest;

                 g.      Post-judgment interest;

                 h.      Awarding Plaintiff reasonable attorneys’ fees when applicable;

                 i.      Awarding Plaintiff the costs of these proceedings; and

                 j.      Such other and further relief as this Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38, Plaintiff demands a trial by jury of all

issues so triable as a matter of right.

Dated: August 1, 2022                            Respectfully submitted,

                                                 THE FERRARO LAW FIRM

                                                 /s/ James L. Ferraro, Jr.
                                                 James L. Ferraro, Jr., Esq.
                                                 Florida Bar No.: 107494
                                                 james@ferrarolaw.com
                                                 600 Brickell Avenue, 38th Floor
                                                 Miami, Florida 33131
                                                 Telephone (305) 375-0111




                                                   45
